Case 1:17-cr-20215-RNS Document 169 Entered on FLSD Docket 06/19/2019 Page 1 of 1



                            United States District Court
                                      for the
                            Southern District of Florida

   United States of America,            )
   Plaintiff                            )
                                        )
   v.                                   )
                                          Criminal Case No. 17-20215-CR-Scola
                                        )
   Juan P. Granda,                      )
   USM 14607-104                        )
   Defendant.                           )

                      Order Granting Government’s Motion

        On June 18, 2019, this matter came before the Court on the Government’s
  Motion for Reduction of Sentence, filed June 12, 2019. Based on the matters
  presented and argument of counsel, it is hereby
        Ordered and Adjudged that the Government’s Motion for Reduction of
  Sentence (ECF No. 164) is hereby granted.            The Defendant’s term of
  imprisonment as to count 1 of the superseding information is reduced from 72
  months to 53 months. All other terms and conditions set forth in the criminal
  judgment (ECF No. 132) shall remain in full force and effect.
        Done and Ordered at Miami, Florida on June 18, 2019.



                                             ____________________________
                                             Robert N. Scola, Jr.
                                             United States District Judge


  cc:   Counsel of record
        U.S. Probation Office
        U.S. Marshals Service
